       Case 2:18-cv-08539-JTM-JCW Document 6 Filed 11/27/18 Page 1 of 6



                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


AUDREY BALDWIN                                            CIVIL ACTION

v.                                                        NO. 2:18-CV-08539

STEEL CITY MARINE TRANSPORT,                              JUDGE JAN TRICHE MILAZZO
INC.
                                                          MAGISTRATE JOSEPH C.
                                                          WILKINSON, JR.



                        ANSWER AND AFFIRMATIVE DEFENSES

       Defendant, Steel City Marine Transport, Inc., answer and respond to the Complaint for

Damages (the “Complaint”) filed by Audrey Baldwin (“Plaintiff”) as follows:

                                       FIRST DEFENSE

       The Complaint fails to state a claim upon which relief may be granted.

                                      SECOND DEFENSE

       Defendant responds to the specific allegations of the Complaint as follows:

                                                 1.

       The allegations of Paragraph 1 of the Complaint are admitted insofar as they allege

Defendant is headquartered in Freedom, Pennsylvania and does business in the state and judicial

district. In further response to the allegations set forth in Paragraph 1 of the Complaint, they are

denied as written.

                                                 2.

       Defendant admits that venue is proper in this judicial district; however, the remainder of

the allegations of Paragraph 2 of the Complaint are denied.
       Case 2:18-cv-08539-JTM-JCW Document 6 Filed 11/27/18 Page 2 of 6




                                                  3.

       The allegations set forth in Paragraph 3 of the Complaint are legal conclusions for which

no response of defendant is required; however, to the extent a response is required, they are

denied for lack of information to justify a belief therein.

                                                  4.

       Defendant admits that Plaintiff was a cook aboard the M/V KEVIN MICHAEL on or

around April 2018; however, the remainder of the allegations set forth in Paragraph 4 of the

Complaint are denied for lack of sufficient information to justify a belief therein.

                                                  5.

       The allegations of Paragraph 5 of the Complaint are denied.

                                                  6.

       The allegations of Paragraph 6 of the Complaint are denied.

                                                  7.

       The allegations of Paragraph 7 of the Complaint are denied.

                                                  8.

       The allegations of Paragraph 8 of the Complaint are denied.

                                                  9.

       The allegations of Paragraph 9 of the Complaint are denied.

                                                 10.

       The allegations of Paragraph 10 of the Complaint are denied.

                                                 11.

       The allegations of Paragraph 11 of the Complaint are denied.




                                                  2
       Case 2:18-cv-08539-JTM-JCW Document 6 Filed 11/27/18 Page 3 of 6




                                                 12.

       The allegations of Paragraph 12 of the Complaint are denied.

                                                 13.

       The allegations of Paragraph 13 of the Complaint are denied.

                                                 14.

       The allegations of Paragraph 14 of the Complaint are denied.

                                                 15.

       The allegations contained in Paragraph 15 of the Complaint are legal conclusions for

which no response of defendant is required; however, to the extent a response is required, they

are denied for lack of information to justify a belief therein.

                                                 16.

       The allegations of Paragraph 16 require no response from Defendant; however to the

extent a response is deemed required, they are denied.

                                                 17.

       The allegations of Paragraph 17 of the Complaint are denied.

                                                 18.

       The allegations of Paragraph 18 of the Complaint are denied.

                                                 19.

       The allegations of Paragraph 19 of the Complaint are denied.




                                                  3
       Case 2:18-cv-08539-JTM-JCW Document 6 Filed 11/27/18 Page 4 of 6



                                                 20.

        The allegations contained in Paragraph 20 of the Complaint are legal conclusions for

which no response of defendant is required; however, to the extent a response is required, they

are denied for lack of information to justify a belief therein.

                                                 21.

        The allegations set forth in any unnumbered Paragraph are denied.

                                        THIRD DEFENSE

        Any damages sustained by Plaintiff were caused or contributed to by her own actions

and/or negligence.

                                       FOURTH DEFENSE

        Any damages sustained by the Plaintiff were caused or contributed to by the acts or

omissions of persons or parties for whom Defendant is not legally responsible.

                                         FIFTH DEFENSE

        Any injury to Plaintiff, if any, pre-existed the occurrences described in the Complaint, in

whole or in part, and/or is in the progression of a condition which pre-existed the accident and

incidents at issue.

                                        SIXTH DEFENSE

        Defendant is without privity or knowledge of the act, matter, thing, loss, damage,

occasion, or incurred, giving rise to this suit. Therefore, Defendant is entitled to all rights and

remedies available under 46 U.S.C. § 30501-30512, including the right to limit its liability for

the casualty at issue, if any to the value of the vessel involved as pending freight.

                                      SEVENTH DEFENSE

        At all times material, the vessel at issue was seaworthy and fit for its intended voyage.




                                                  4
       Case 2:18-cv-08539-JTM-JCW Document 6 Filed 11/27/18 Page 5 of 6



                                       EIGTH DEFENSE

       Plaintiff has failed to mitigate her damages, any recovery to which she may otherwise be

entitled, which is denied, should be reduced accordingly.

                                       NINTH DEFENSE

       Defendant avers that it has not breached its duties, statutory or otherwise, to Plaintiff.

Further, at all material times, Defendant acted reasonable and prudently under the circumstance

and applied with all applicable state and federal regulations and laws.

                                       TENTH DEFENSE

       Plaintiff is not entitled to punitive and/or exemplary damages under the Jones Act, 46

U.S.C. § 30104 and/or under the General Maritime Laws of the United States.

       WHEREFORE, Defendant, Steel City Marine Transport, Inc., respectfully prays this

Answer be deemed good and sufficient and, after due proceedings are had, that there be

Judgment entered herein in its favor and against Plaintiff, dismissing any claims at her costs and

with prejudice, awarding Defendant all costs and fees incurred herein before any other relief

deemed necessary and reasonable in the premises.




                                                 5
       Case 2:18-cv-08539-JTM-JCW Document 6 Filed 11/27/18 Page 6 of 6



                                              Respectfully submitted,

                                              /s/ Joseph A. Devall, Jr.


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                                              Attorneys for Steel City Marine Transport,
                                              Inc.

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 27th day of November, 2018, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF system which will send a notice of

electronic filing to all counsel of record.



                                                    /s/ Joseph A. Devall, Jr.
                                                      Joseph A. Devall, Jr.




                                               6
